Case 19-17545-pmm   Doc   Filed 01/30/24 Entered 01/30/24 12:30:03   Desc Main
                          Document      Page 1 of 6
Case 19-17545-pmm   Doc   Filed 01/30/24 Entered 01/30/24 12:30:03   Desc Main
                          Document      Page 2 of 6
Case 19-17545-pmm   Doc   Filed 01/30/24 Entered 01/30/24 12:30:03   Desc Main
                          Document      Page 3 of 6
Case 19-17545-pmm   Doc   Filed 01/30/24 Entered 01/30/24 12:30:03   Desc Main
                          Document      Page 4 of 6
Case 19-17545-pmm   Doc   Filed 01/30/24 Entered 01/30/24 12:30:03   Desc Main
                          Document      Page 5 of 6
Case 19-17545-pmm   Doc   Filed 01/30/24 Entered 01/30/24 12:30:03   Desc Main
                          Document      Page 6 of 6
